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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA ex rel. CHRIS
RIEDEL, an individual,
2605 South Winchester Boulevard
Campbell, CA 95008

Plaintiffs, Civil Case No.

VS.

HEALTH DIAGNOSTIC LABORATORY,
INC., a Virginia corporation;
737 N. 5™ Street, Suite 103
Richmond, VA 23219
BLUEWAVE HEALTHCARE
CONSULTANTS, INC., an Alabama corporation;
307 Commercial Street SE
Hanceville, AL 35077
and SINGULEX, INC., a Delaware corporation,
1650 Harbor Bay Parkway, Suite 200
Alameda, CA 94502

Defendants.

COMPLAINT FOR MONEY DAMAGES AND CIVIL PENALTIES
FOR VIOLATIONS OF THE FALSE CLAIMS ACT

DEMAND FOR JURY TRIAL

[FILED Bees ee
PURSUANT TO 31 U.S. C. 8 3730(b)(2)}

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FIRST CAUSE OF ACTION

On Behalf of the United States

Federal False Claims Act, Presenting False Claims

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SECOND CAUSE OF ACTION

On Behalf of the United States

Federal False Claims Act, Making or Using False Records or Statements

Material to Payment or Approval of False Claims

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THIRD CAUSE OF ACTION
On Behalf of the United States

Federal False Claims Act, Conspiracy to Commit Violations
31 U.S.C. § 3729(a)(1)(C)

FOURTH CAUSE OF ACTION

(In the Alternative)

On Behalf of the United States

Federal False Claims Act, Retention of Proceeds to Which Not Entitled

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Plaintiffs UNITED STATES OF AMERICA (“United States”), by and through Relator
CHRIS RIEDEL, alleges as follows:
I, INTRODUCTION

1. Over the past several years, Defendants HEALTH DIAGNOSTIC
LABORATORY, INC. (“HDL”), BLUEWAVE HEALTHCARE CONSULTANTS, INC.
(“BlueWave”), and SINGULEX, INC. (“Singulex”) (collectively, “Defendants”), have
perpetrated a multi-million dollar fraud on U.S. taxpayers through a Medicare kickback scheme.
Defendants have provided illegal kickbacks in several forms to doctors and clinics, in order to
induce those doctors and clinics to refer Medicare business to them. The kickbacks take the
following forms, as described in detail in this Complaint:

a. Defendants promise to doctors that they will never collect co-payments or patient
deductible payments from the doctors’ privately-insured patients. This is of great
benefit to the doctors, who are able to attract and retain the business of patients by
promising no co-payments or patient deductible payments. In exchange for this
benefit, the doctors send all of their lipid-related business, including Medicare
business, to Defendants. As such, the waiver of deductibles and co-payments
constitutes illegal remuneration, designed by Defendants to “pull-through”
higher-paying Medicare business to Defendants. Furthermore, waiving insurance
co-payments is explicitly illegal under the laws of several states. Lipid panels are
among the most frequently ordered — and expensive — lab tests.

b. Defendants pay doctors inflated “packaging” fees for drawing blood specimens

and packaging them for shipping. The fees paid by Defendants far exceed the fair
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market value of the processing, and constitute illegal remuneration designed to
induce the referral of Medicare business.

C. Defendants pay doctors to be members of their “Speakers Bureau,” in exchange

for the doctors’ referral of all lipid-related business — including Medicare business
— to Defendants.

2. These practices constitute an illegal kickback scheme, no more legal than if
Defendants simply handed doctors envelopes of cash in exchange for Medicare referrals.

a Additionally, Defendants systematically bill Medicare for medically unnecessary
tests. Specifically, both of HDL’s test bundles (“panels”) include both an Apo B test, and an
LDL-P test. Both of these tests measure total LDL particles. There is no medical benefit to
including both of these tests since they provide the same medical information and treatment
would not be affected by including both tests. Both tests are pre-selected by Defendants as part
of their panels; doctors do not have the option to de-select one of the tests. Defendants then
perform, and bill Medicare for, each of the tests. Each time they do so, Defendants violate the
False Claims Act.

4, Medicare is administered by the United States government, and provides health
coverage to people 65 years of age and older. Medicare’s soaring costs are staggering. In 2007,
Medicare expenditures accounted for 16% of all federal spending — second only to Social
Security and Defense. Knowing that the federal Government lacks the ability to track the
massive amount of Medicare money as it flows through the complex healthcare delivery system,
unscrupulous companies see Government money as an easy source for padding their profits.
Sadly, Defendants have become part of this problem through their abuse of the Medicare

program — a program designed to benefit senior citizens, not private companies.
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5. In engaging in these illegal practices, Defendants are not only cheating the
system, but also driving competitors out of the marketplace, thereby reducing the quantity and
quality of treatment options for elders.

6. This is a qui tam action for violation of the federal False Claims Act (31 U.S.C.
§§ 3150 et seq.), to recover treble damages, civil penalties and attorneys’ fees and costs for
Plaintiffs and on behalf of the United States for fraudulent Medicare billings. Non-public
information personally known to Relator Chris Riedel (“Riedel”) serves as the basis for this
action.

II. JURISDICTION AND VENUE

d, This Court has jurisdiction over this action pursuant to 31 U.S.C. sections 3730(b)
and 3732(a), which confer jurisdiction on this Court for actions brought under the federal False
Claims Act, and authorize nationwide service of process. Venue is proper in this district
pursuant to 31 U.S.C. section 3732(a), as all Defendants transact business in the District of
Columbia.

Ill. PARTIES

8. The plaintiff in this action is the UNITED STATES OF AMERICA (“United
States”), by and through Relator CHRIS RIEDEL.

9. Relator CHRIS RIEDEL is an individual engaged in the commercial reference
laboratory business.

10. Defendant HEALTH DIAGNOSTIC LABORATORY, INC. (“HDL”), is a
Virginia corporation with its principal place of business in Richmond, Virginia. HDL is a

laboratory testing company founded in or about 2008.
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11. Defendant BLUEWAVE HEALTHCARE CONSULTANTS, INC.
(“BlueWave”), is an Alabama corporation doing business in Washington D.C., Florida, North
Carolina, South Carolina, Georgia, Texas, New Jersey, Pennsylvania, Virginia, West Virginia,
Tennessee, Mississippi, Louisiana, Alabama, and other states. BlueWave provides marketing
and sales services for HDL and Singulex. On information and belief, BlueWave was formed for
the principal purpose of providing sales and marketing services to HDL.

12. Defendant SINGULEX, INC. (“Singulex”) is a Delaware corporation with its
principal place of business in Delaware. Singulex is an in-vitro diagnostic company founded in
or about 2005, that established a CLIA testing laboratory in or about 2010.

IV. OVERVIEW OF THE SCHEME

13. HDL and Singulex are medical laboratories that specialize in advanced lipid
testing. Advanced lipid testing helps identify coronary heart disease risk factors that standard
cholesterol and other basic blood tests do not. Advanced lipid tests tend to be more expensive
than more basic medical laboratory tests, and consequently can result in higher profit margins for
the laboratories that provide them,

14. Because the purpose of advanced lipid testing is generally to detect, prevent, and
manage coronary heart disease, the patient population that requires the testing is largely
comprised of senior citizens covered by Medicare. On information and belief, 30% to 50% of
the tests conducted by HDL and Singulex are for patients covered by Medicare.

15. HDL and Singulex bill and are reimbursed by Medicare a total of $1,123.65 for
the initial Comprehensive CVD Baseline Assessment panel, and $602.78 for the CVD/Metabolic
Follow-up Profile, per patient. After the initial panel, follow-up panels are often ordered four

times per year. HDL’s and Singulex’s profit margins on this Medicare business are
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extraordinary. Consequently, Defendants — desperate to capture and retain Medicare business —
have pushed their marketing techniques into blatantly illegal territory.

16. Specifically, in order to capture and retain Medicare business, Defendants have
offered several forms of illegal remuneration to physician customers in order to induce referral of
Medicare business.

17. The first form of illegal remuneration is waiver of private insurance co-payments.
A significant portion of a physician’s non-Medicare patients will be covered by private
insurance. Most private insurance companies require that a patient ordering a laboratory test
make a co-payment of approximately 20% of allowable charges to the laboratory. The co-
payments can be significant to patients, especially those being treated with statin therapy, who
require regular medical treatment and lipid testing with attendant co-payments at least four times
per year. For example, in the case of the HDL Baseline Assessment panel, the co-payment, if
charged, would be $224.73. Accordingly, the waiver of a co-payment is a significant benefit that
a physician can provide to his or her patients. Knowing this, Defendants promise physicians that
they will not collect co-payments, as long as the ohysiclens send all of their lipid-related business
— including Medicare business — to the Defendants’ laboratories.

18. The second form of illegal remuneration is waiver of private insurance deductible
payments. Most private insurance companies require that a patient ordering a laboratory test
make a deductible payment to the laboratory until the patient has met his/her deductible amount
each year. The deductible payments can be significant to patients. For example, in the case of
the HDL Baseline Assessment panel, the deductible payment, if charged, would be $1,123.65.
Accordingly, the waiver of a deductible payment is a significant benefit that a physician can

provide to his or her patients. Knowing this, Defendants promise physicians that they will not
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collect deductible payments, as long as the physicians send all of their lipid-related business —
including Medicare business — to the Defendants’ laboratories.

19. | Though Defendants lose money on uncollected co-payments and deductibles, they
more than make up the difference with the profits they earn on the Medicare referral business.
This Medicare business, induced by the co-payment waiver for privately insured patients, is
referred to in the industry as “pull-through” business. The majority of Medicare patients are
receiving statin therapy, and therefore receive lipid testing four times per year. This amounts to
annual Medicare payments of over $2,400 per patient.

20. Waiving co-payments and deductibles in this manner, to induce the referral of
pull-through Medicare business constitutes illegal inducement, strictly prohibited by the anti-
kickback laws.

21. ‘The third form of illegal remuneration provided by Defendants to induce the
referral of Medicare business is the payment to physicians of inflated “packaging” fees. When a
physician orders a test for a patient, the physician can either send the patient to the laboratory to
have blood drawn, or the physician can have a nurse or medical assistant in the physician’s office
draw the blood, after which the specimen is packaged and sent to the laboratory in a shipping
package provided and paid for by the laboratory. The Defendants in this case do not have a wide
network of blood draw centers, and most blood specimens are therefore drawn by the physicians
who order the tests.

22. When a physician’s office draws the specimen, standard industry practice allows
for the laboratory to pay the physician a nominal fee for the small amount of time it takes to

draw and package the specimen. Medicare provides a $3 payment to physicians for drawing a

specimen.
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23. According to the Department of Health and Human Services, Office of Inspector
General, when a laboratory pays a referring physician for performing blood draws, and where the
amount paid exceeds $3, “an inference arises that the compensation is paid as an inducement to
the physician to refer patients to the laboratory.” OIG Advisory Opinion No. 05-08, page 4.

24. In this case, Defendants pay referring physicians draw and “packaging” fees that
far exceed the $3 Medicare amount, far exceed standard industry practice, and far exceed fair
market value. Specifically, Defendants pay “packaging” fees of more than $20-$30. Worse,
Defendants pay multiple “packaging” fees per patient, rather than the industry standard of one
fee per patient, regardless of the number of labs to which the test specimens are sent. The
difference in the amount of time and effort that it takes to draw and package multiple specimens
from the same patient, as opposed to a single specimen, is negligible; multiple specimens are
drawn from the same venipuncture, and are centrifuged and packaged at the same time.
Accordingly, a physician can draw four vials of blood, order four tests, ship them in four
packages to Defendants, and receive an $80 “packaging” fee from Defendants — an amount that
far exceeds reasonable compensation. Moreover, Defendants actively encourage physicians to
order additional tests - whether medically necessary or not — in order to increase the number of
“packaging” fees they receive. These “packaging” fees are pure artifice, thinly disguised
kickbacks.

25. The fourth form of kickbacks paid by Defendants are “speaking fees” paid to
physicians who sign up to be part of Defendants’ “Speakers Bureau.” In exchange for speaking
at conferences once or twice a year, if at all, referring physicians are paid thousands of dollars by

Defendants. The fees paid by Defendants far exceed the fair market value of the physicians’
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speeches, and are intended as illegal remuneration to induce the referral of physicians’ Medicare

and other business.

26. In addition to providing illegal kickbacks, Defendants overcharge Medicare by
systematically billing for medically unnecessary tests. Specifically, HDL’s two test bundles
(“panels”) include both an Apo B test, and an LDL-P test. Both of these tests measure total LDL
particles. There is no medical benefit to including both of these tests since they provide the same
medical information and ireatment would not be affected by including both tests. Both tests are
pre-selected by Defendants as part of their panels; doctors do not have the option to de-select one
of the tests. Defendants then perform, and bill Medicare for, each of the tests. Defendants
charge Medicare $20.19 for the Apo B test, and $45.19 for the LDL-P test. Each time they do
so, Defendants violate the False Claims Act.

V. DEFENDANTS VIOLATED THE FALSE CLAIMS ACT BY PROVIDING
KICKBACKS IN EXCHANGE FOR THE REFERRAL OF “PULL-THROUGH”
MEDICARE AND MEDI-CAL BUSINESS
27. Defendants violated the False Claims Act by charging Medicare for lab tests that

were referred to Defendants by providers because of kickbacks offered to those providers by

Defendants. Defendants’ practices are unlawful as kickback schemes, strictly prohibited by

Medicare statutes. Specifically, 42 U.S.C. § 1320a-7b(b)(2)(A) prohibits “Illegal remunerations”

for “Whoever knowingly and willfully offers or pays any remuneration (including any kickback,

bribe, or rebate) directly or indirectly, overtly or covertly, in cash or in kind to any person to
induce such person to refer an individual to a person for the furnishing or arranging for the

furnishing of any item or service for which payment may be made in whole or in part under a

Federal health care program....” 42 U.S.C. § 1320a-7b(b)(2)(A) (emphasis added).
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28. Interpretations of this language by the federal authorities provide useful guidance
in applying these anti-kickback laws, and establish that Defendants have violated the anti-
kickback laws of the United States through the conduct described herein. For example, the
federal Department of Health and Human Services, Office of the Inspector General (“OIG”),
reaffirmed on May 9, 2008, that: “[W]hen a laboratory offers or gives an item or service for free
or less than fair market value to a referral source, an inference arises that the item or
service is offered to induce the referral of business.” OIG Advisory Opinion No. 08-06. An
anti-kickback “violation arises if the discount whatever its size is implicitly or explicitly tied to
referrals of” government-funded business. OIG Opinion Letter, April 26, 2000.

29. In October 1994, the OIG issued a Special Fraud Alert, entitled “How Does the
Anti-Kickback Statute Relate to Arrangement for the Provision of Clinical Lab Services?” As an
example of a situation giving rise to an inference of an illegal kickback, the Special Fraud Alert
cited laboratories that waive charges to providers for lab tests of managed care patients (such as
the co-payments of patients here).

30. Moreover, in June 2005, the OIG issued an Advisory Opinion concluding that
payments by a laboratory to eétiviling physicians of $6 per day for “collection of blood samples,”
likely constituted “prohibited remuneration under the anti-kickback statute.” OIG Advisory
Opinion No. 05-08, at pp. 1-2. Specifically, the OIG concluded that:

Where a laboratory pays a referring physician to perform blood
draws, particularly where the amount paid is more than the
laboratory receives in Medicare reimbursement, an inference arises
that the compensation is paid as an inducement to the physician to
refer patients to the laboratory... .

.... Because the physicians would receive a portion of the Lab’s

reimbursement for blood tests resulting from the physicians’ referrals, the
physicians have a strong incentive to order more blood tests. As a
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result, there is a risk of overutilization and inappropriate higher costs
to the Federal health care programs.

Id. at p. 4.

31. The “packaging” fees paid by Defendants to referring providers in this case are no
different. As in the “collection” fees paid in the Advisory Opinion’s scenario, the “packaging”
fee and other “compensation provides an obvious financial benefit to the referring physician, and
it may be inferred that this benefit would be in exchange for referrals to the Lab.” OIG Advisory
Opinion No. 05-08, at p. 4. Currently, Medicare pays a $3.50 “draw fee,” for collecting
physicians. The “packaging” fees paid by Defendants are many multiples of this Medicare draw
fee. This alone gives rise to an inference of illegal remuneration. Moreover, as in the scenario
considered by the OIG’s Advisory Opinion, the “packaging” fees and other remuneration
provided by Defendants have the effect of incentivizing physicians to order more tests, creating a
“risk of overutilization and inappropriate higher costs to the Federal health care programs.” See
id. at p. 4.

32. Defendants violated the anti-kickback laws described in these OIG opinions by
waiving co-payments and deductibles, paying referring physicians inflated “packaging” fees, and
paying sham “Speakers Bureau” fees to referring physicians, and both implicitly and explicitly
tying these kickbacks to the referral of Medicare business. Accordingly, Defendants violated the
federal anti-kickback provisions. Defendants presented to Medicare claims for reimbursement of
laboratory tests the referral of which was induced, in whole or in part, directly or indirectly,
overtly or covertly, by the provision of the kickbacks described above. Each of those claims
constitutes a violation of the federal False Claims Acts.

33. Atall times relevant hereto, Defendants knew that federal law prohibited their

giving or receiving these kickbacks. Defendants certified, both explicitly and implicitly, that

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each claim they submitted to Medicare would fully comply with all statutes and regulations,
including the anti-kickback provisions, and that as Medicare providers, they would comply with
all pertinent statutes and regulations, including the anti-kickback provisions.

34. Each claim for payment submitted by Defendants, from at least 2009 to the
present, to Medicare that was referred to Defendants by a provider who received any of the four
forms of remuneration described above from Defendants constitutes a false claim in violation of
the False Claims Act (31 U.S.C. § 3729 et seg.). Over this time period, Defendants have
submitted hundreds of thousands of such claims for payments, and received tens, if not hundreds,
of millions of dollars from the Government as a result of these illegal kickbacks.

VI. DEFENDANTS VIOLATED THE FALSE CLAIMS ACT BY BILLING FOR
MEDICALLY UNNECESSARY LABORATORY TESTS

35. Defendants violated the False Claims Act by submitted claims for payment for
laboratory testing services that Defendants knew were not medically necessary. Section 1862 of
the Social Security Act provides, in pertinent part: “Notwithstanding any other provision of this
title, no payment may be made under [Medicare] for any expenses incurred for items or services .
.. Which . . . are not reasonable and necessary for the diagnosis or treatment of illness or injury
or to improve the functioning of a malformed body member.” 42 U.S.C. 1395y(a)(1)(A).

36. Defendants violated 42 U.S.C. 1395y(a)(1)(A) by ordering medically unnecessary
laboratory tests. HDL’s two panels include both an Apo B and LDL-P test, however, there is no
' medical benefit to including both of these tests as they provide the same medical information and
treatment is not affected by including both tests. Additionally, Defendants' practice of pre-
selecting tests and depriving doctors of the option to de-select a test (as in the case of the Apo B
and LDL-P tests) violates established Medicare regulations as all diagnostic tests "must be

ordered by the physician who furnishes a consultation or treats a beneficiary for a specific

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medical problem ...", 42 C.F.R. § 410.32(a), and "tests not ordered by the physician who is
treating the beneficiary are not reasonable and necessary." Jd.

37. | Medicare and other federal health care programs require as a condition of
coverage that services rendered must be reasonable and medically necessary. 42 U.S.C. §
1395y(a)(1)(A). Defendants presented to Medicare claims for reimbursement of laboratory tests
which were neither reasonable or necessary. As such, each of these claims constitutes a false
claim in violation of the False Claims Act (31 U.S.C. § 3729 et seg.). Defendants certified, both
explicitly and implicitly, that each claim they submitted to Medicare would fully comply with all
statutes and regulations, and that as Medicare providers they would comply with all pertinent
statutes and regulations.

Vil. CAUSES OF ACTION
FIRST CAUSE OF ACTION
On Behalf of the United States
Federal False Claims Act, Presenting False Claims
31 U.S.C. § 3729(a)(1)(A)

38. Plaintiffs incorporate by reference and reallege all of the allegations contained in
paragraphs 1 through 37 of this Complaint as though fully set forth herein.

39. Defendants knowingly (as defined in 31 U.S.C. § 3729(b)(1)) presented or caused
to be presented false claims for payment or approval to an officer or employee of the United
States.

40. Defendants knowingly presented false records and statements, including but not
limited to bills, invoices, requests for reimbursement, and records of services, in order to obtain
payment or approval of charges by the Medicare program that were higher than they were

permitted to claim or charge by applicable law. Among other things, Defendants knowingly

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submitted false claims for Medicare business that was obtained by means of, and as a result of,
illegal kickbacks.

41. Defendants knowingly made, used, and caused to be made and used false
certifications that their claims, and all documents and data upon which those claims were based,
were accurate, and were supplied in full compliance with all applicable statutes and regulations.

42. The conduct of Defendants violated 31 U.S.C. § 3729(a)(1)(A) and was a
substantial factor in causing the United States to sustain damages in an amount according to

proof.

SECOND CAUSE OF ACTION
On Behalf of the United States
Federal False Claims Act, Making or Using False Records or Statements
Material to Payment or Approval of False Claims
31 U.S.C. § 3729(a)(1)(B)

43. Plaintiffs incorporate by reference and reallege all of the allegations contained in
paragraphs 1 through 37 of this Complaint as though fully set forth herein.

44. Defendants knowingly (as defined in 31 U.S.C. § 3729(b)(1)) made, used, or
caused to be made or used false records or statements material to false or fraudulent claims.

45. Defendants knowingly made, used, and/or caused to be made and used false
records and statements, including but not limited to bills, invoices, requests for reimbursement,
and records of services, that were material to the payment or approval of charges by the
Medicare program that were higher than they were permitted to claim or charge by applicable

law. Among other things, Defendants made and used bills for Medicare business that was

obtained by means of, and as a result of, illegal kickbacks.

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46. Defendant knowingly made, used, and caused to be made and used false
certifications that its claims, and all documents and data upon which those claims were based,
were accurate, and were supplied in full compliance with all applicable statutes and regulations.

47. The conduct of Defendants violated 31 U.S.C. § 3729(a)(1)(B) and was a
substantial factor in causing the United States to sustain damages in an amount according to
proof.

THIRD CAUSE OF ACTION
On Behalf of the United States
Federal False Claims Act, Conspiracy to Commit Violations
31 U.S.C. § 3729(a)(1)(C)

48. Plaintiffs incorporate by reference and reallege all of the allegations contained in
paragraphs 1 through 37 of this Complaint as though fully set forth herein.

49. Defendants knowingly (as defined in 31 U.S.C. § 3729(b)(1)) conspired to
commit violations of substantive portions of the False Claims Act, including but not limited to
subparagraphs (A), (B), and (G) of 31 U.S.C. § 3729.

50. Upon information and belief, Defendants conspired to: (1) knowingly present
false records and statements; (2) knowingly make, use, and/or cause to be made and used false
records and statements; and (3) knowingly make, use, or cause to be made or used, a false record
or statement material to an obligation to pay or transmit money or property to the Government,
or knowingly concealed or knowingly and improperly avoided or decreased an obligation to pay
or transmit money or property to the Government.

51. The conduct of Defendants violated 31 U.S.C. § 3729(a)(1)(C) and was a

substantial factor in causing the United States to sustain damages in an amount according to

proof.

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FOURTH CAUSE OF ACTION
(In the Alternative)
On Behalf of the United States
Federal False Claims Act, Retention of Proceeds to Which Not Entitled
31 U.S.C. § 3729(a)(1)(G)

52. Plaintiffs incorporate by reference and reallege all of the allegations contained in
paragraphs 1 through 37 of this Complaint as though fully set forth herein.

53. In the alternative, Defendants knowingly made, ‘ed, or caused to be made or
used, a false record or statement material to an obligation to pay or transmit money or property to
the Government, or knowingly concealed or knowingly and improperly avoided or decreased an
obligation to pay or transmit money or property to the Government.

54. As discussed above, Defendants received far more money from the Medicare
programs than it was entitled to. Defendants knew that they had received more money than it
was entitled to, and avoided their obligation to return the excess money to the Government.

55. The conduct of Defendant violated 31 U.S.C. § 3729(a)(1)(G) and was a
substantial factor in causing the United States to sustain damages in an amount according to
proof.

Vil. PRAYER FOR RELIEF

WHEREFORE, Plaintiffs by and through Relator, pray judgment in its favor and against
Defendants as follows:

1. That judgment be entered in favor of plaintiff UNITED STATES OF AMERICA
ex rel. CHRIS RIEDEL, and against Defendants HEALTH DIAGNOSTIC LABORATORY,
INC., BLUEWAVE HEALTHCARE CONSULTANTS, INC., and SINGULEX, INC.,

according to proof, as follows:

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a. On the First Cause of Action (Presenting False Claims (31 U.S.C. §
3729(a)(1)(A))) damages as provided by 31 U.S.C. § 3729(a)(1), in the amount
of:

i. Triple the amount of damages sustained by the Government;

il. Civil penalties of Ten Thousand Dollars ($10,000.00) for each false claim;
iii. Recovery of costs;

iv. Pre- and post-judgment interest;

V. Such other and further relief as the Court deems just and proper;

b. On the Second Cause of Action (False Claims Act; Making or Using False
Records or Statements Material to Payment or Approval of False Claims (31
U.S.C. § 3729(a)(1)(B))) damages as provided by 31 U.S.C. § 3729(a)(1) in the
amount of:

i. Triple the amount of damages sustained by the Government;

ii. Civil penalties of Ten Thousand Dollars ($10,000.00) for each false claim;
iii. | Recovery of costs;

iv. Pre- and post-judgment interest;

v. Such other and further relief as the Court deems just and proper;

G On the Third Cause of Action (False Claims Act; Conspiracy to Commit
Violations (31 U.S.C. § 3729(a)(1)(C))) damages as provided by 31 U.S.C. §
3729(a)(1) in the amount of:
is Triple the amount of damages sustained by the Government;

ii. Civil penalties of Ten Thousand Dollars ($10,000.00) for each false claim;

iii. Recovery of costs;

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iv. Pre- and post-judgment interest;

v. Such other and further relief as the Court deems just and proper; and
d. On the Fourth Cause of Action (False Claims Act, Retention of Proceeds to

Which Not Entitled (31 U.S.C. § 3729(a)(1)(G))) damages as provided by 31

U.S.C. § 3729(a)(1) in the amount of:

i. Triple the amount of damages sustained by the Government;

ii. Civil penalties of Ten Thousand Dollars ($10,000.00) for each false claim;

ili. Recovery of costs;
iv. Pre- and post-judgment interest;
v. Such other and further relief as the Court deems just and proper.

2, Further, Relator, on his own behalf, pursuant to 31 U.S.C. section 3730(d),
requests that he receive such maximum amount as permitted by law, of the proceeds of this
action or settlement of this action collected by the United States, plus an amount for reasonable
expenses incurred, plus reasonable attorneys’ fees and costs of this action. Relator requests that

his percentage be based upon the total value recovered, including any amounts received from

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individuals or entities not parties to this action.

Respectfully Submitted,

DATED: December 30, 2011

COTCHETT, PITRE & McCARTHY, LLP

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NIALL P. netarhe 7
(CA SBN 1601

(to be admitted pro hac vice)
JUSTIN T. BERGER

(CA SBN 250346)

(to be admitted pro hac vice)
ERIC J. BUESCHER

(CA SBN 271323)

(DC bar admission pending)

YS

COTCHETT, PITRE & McCARTHY, LLP

San Francisco Airport Office Center
840 Malcolm Road
Burlingame, California 94010

Telephone: (650) 697-6000
Facsimile: (650) 692-3606
E-Mail: nmccarthy@cpmlegal.com

jberger@cpmlegal.com

ebuescher@cpmlegal.com

Attorneys for Relator

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BERK LAW PLLC

By: SA?

STEVEN N. BERK

(DC SBN 432876)
BERK LAW PLLC
2002 Massachusetts Avenue NW
Washington, DC 20036

Telephone: (202) 232-7550
Facsimile: (202) 232-7556
E-Mail: steven@berklawdc.com

Attorneys for Relator

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DEMAND FOR JURY TRIAL

Relator CHRIS RIEDEL hereby demands a jury trial on all issues so triable.
Respectfully Submitted,
DATED: December 30, 2011

COTCHETT, BERK LAW PLLC

By: SE-

STEVEN N. BERK

NIALL P. M ae
(CA SBN 16 (DC SBN 432870)

(to be admitted pro hac vice) BERK LAW PLLC
JUSTIN T. BERGER 2002 Massachusetts Avenue NW
(CA SBN 250346) Washington, DC 20036
(to be admitted pro hac vice) Telephone: (202) 232-7550
ERIC J. BUESCHER Facsimile: (202) 232-7556
(CA SBN 271323) E-Mail: steven@berklawdc.com
(DC bar admission pending)

COTCHETT, PITRE & McCARTHY, LLP

San Francisco Airport Office Center

840 Malcolm Road

Burlingame, California 94010

Telephone: (650) 697-6000

Facsimile: (650) 692-3606

E-Mail: nmecarthy@cpmlegal.com
jberger@cpmlegal.com
ebuescher@cpmlegal.com

Attorneys for Relator Attorneys for Relator

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